                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 4:10-cr-30
 v.                                                    )
                                                       )       MATTICE / LEE
 MOLLY LOGAN RIGSBY MARTIN                             )

                              REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on November 3, 2010.

 At the hearing, Defendant moved to withdraw her not guilty plea to Count One of the fourteen-count

 Indictment and entered a plea of guilty to the lesser included offense of the charge in Count One,

 that is of conspiracy to manufacture and distribute Five (5) grams or more of methamphetamine

 (actual) and Fifty (50) grams or more of a mixture and substance containing a detectable amount of

 methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846 and

 841(b)(1)(B) in exchange for the undertakings made by the government in the written plea

 agreement. On the basis of the record made at the hearing, I find the Defendant is fully capable and

 competent to enter an informed plea; the plea is made knowingly and with full understanding of each

 of the rights waived by Defendant; the plea is made voluntarily and free from any force, threats, or

 promises, apart from the promises in the plea agreement; the Defendant understands the nature of

 the charge and penalties provided by law; and the plea has a sufficient basis in fact.

        Therefore, I RECOMMEND Defendant’s motion to withdraw her not guilty plea to Count

 One be granted, her plea of guilty to the lesser included offense of the charge in Count One, that is

 of conspiracy to manufacture and distribute Five (5) grams or more of methamphetamine (actual)

 and Fifty (50) grams or more of a mixture and substance containing a detectable amount of

 methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846 and




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 841(b)(1)(B) be accepted, the Court adjudicate Defendant guilty of the lesser included offense of

 the charge in Count One, that is of conspiracy to manufacture and distribute Five (5) grams or more

 of methamphetamine (actual) and Fifty (50) grams or more of a mixture and substance containing

 a detectable amount of methamphetamine, a Schedule II controlled substance, in violation of 21

 U.S.C. §§ 846 and 841(b)(1)(B), and a decision on whether to accept the plea agreement be deferred

 until sentencing. Defendant made an oral motion to remain on bond after entry of her plea pending

 sentencing pursuant to 18 U.S.C. §§ 3143 & 3145(c). The Government agreed that exceptional

 reasons exist making detention inappropriate under 18 U.S.C. § 3145(c). Therefore Defendant’s oral

 motion to remain on bond pending sentencing is GRANTED [Doc. ___] and a separate Order has

 been entered on the record. Therefore, I further RECOMMEND Defendant remain on bond until

 sentencing in this matter. Acceptance of the plea, adjudication of guilt, acceptance of the plea

 agreement, and imposition of sentence are specifically reserved for the district judge.



                                              s/Susan K. Lee
                                              SUSAN K. LEE
                                              UNITED STATES MAGISTRATE JUDGE


                                      NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen (14) days after the plea hearing.
 Failure to file objections within fourteen (14) days constitutes a waiver of any further right to
 challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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